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              ,ev. 12/09) Search and Seizure Warrant (USAO CDCA Rev. 0 U2013)                                                    ~~~~~~~~



                                            UNITED STATES DISTRICT COURT
                                                                             for the
                                                                   Central District of California

                         In the Matter of the Search of                            )
                   (Briefly describe the property to be searched                   ~          r              ~                   ~~
                    or identify [he person by Home and address)
                                                                                   ) CdSe No.
                Digital Devices in the Custody of the FBI,                         )                                ~ ~ ~ ~_~~*
                          Seized on May 7, 2016                                    )                                    ~ -.. -~ ~'
                                                                                                                                                    --~1
                                                   SEARCH AND SEIZURE WARRANT                                                1   ~,                 ~
      To:                                                                                                                            *r~~ -   3
                Any authorized law enforcement officer
                                                                                                                                 "'"__ ~ `    p
                                                                                                                                              —
                                                                                                                                       -      ..
               An application by a federal law enforcement officer or an attorney for the
                                                                                          governmenk r                           nests _the march
      of the following person or property located in the         Central           District of                                    California___
    (rdentrfi% the person or describe the property to be searched and give its /ocation~
                                                                                         :
          See Attachment A

               The person or property to be searched, described above, is believe to
                                                                                 d conceal (idenri~y~ the pe,•son or describe the
     property to be seized):
          See Attachment B


             I find that the affidavit(s), ar any recorded testimony, establish probabl
                                                                                        e cause to search and seize the person or
     property. Such affidavits) or testimony are incorporated herein
                                                                         by reference and. attached hereto.
               YOU ARE COMMANDED to execute this warrant on or before
                                                                                                     _ 14 days_ from the date of its_ issuance      __
                                                                                                                      (not[o exceed 1-~ days)
              in the daytime 6:00 a.m. to 10 p.m.                   ~ at any time in the day or night as I find reasonable cause has been
                                                                      established.

              Unless delayed notice is authorized below, you must give a copy of
                                                                                 the warrant and a receipt for the property
     taken to the person from whom, or from whose premises, the propert
                                                                          y was taken, or leave the copy and receipt at the
     place where the property was taken.
             The officer executing this warrant, or an officer present during the executi
                                                                                           on of the warrant, must prepare an
     inventory as required by law and promptly return this warrant
                                                                       and inventory to United States Magistrate .ludge
     on duty at the time of the return through a filing with the Clerk's
                                                                         Office.
                                    (name)

          ~ I find that immediate notification may have an adverse result
                                                                             listed in 18 U.S.C. § 2705 (except for delay
    of trial), and authorize the officer executing this warrant to delay
                                                                         notice to the person who, or whose property, will be
    searched or seized (check [he approprra~e box)         Q for                 _days (nor ro exceed 3n).
                                                           ~ until, the facts justifying, the lat r specific date of

    Date and time issued: ~ 30 ~F(O                      v~ ~ 3Q                      ~j~~-`.t~,         .
                                                                                                                 Judge's signuhire

    City and state:      Los Angeles, California              __             _                           U.S.
                                                                                                         _. Magistrate Judge...
                                                                                                             /'rioted name and title


                        Y
                        '^
AUSA: Devon Myers(x0649)
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              .r. /?/09) Search and Sei=ure 1Var•ran~ (Page 2)


                                                                      Return
      tease Nn.: 1(o- 1~'ZM                  Date and lime war~~ant executed:        Copy ofwarrant and inventory left with:
      ~~-~ s~3i                                  I                                               a~►
     Inventory made in the presence of

     Inventory of the property token and name of any persons) seized:
     [Please provide a description that would be sufficient to demonstrate that the items
                                                                                          seized fall within the items authorized to be
     seized pursuant to the warrant (e.g., type of documents, as opposed to "miscellaneous documen
                                                                                                       ts") as well as the approximate
     volume of any documents seized (e.g., number of boxes). if reference is made to
                                                                                        an attached description of property, specify the
     number of pages to the attachment and any case number appearing thereon.]



         ~C 1~►E Ct~ G/~k..~ of Ea5 S 0 M~t21L 111 GEt.MOl.~
                                                             w~l{'~n Tw a ~,2~ SO ~(r ir~51~t
                          Gent-~ S




                                                                  Certification (bv officer present durinE the execution of the warrant)

    Ideclare under penalty of~perjury thatIam an officer who execute
                                                                      d this war~•ant and that this inventory is correct and
    was returned along with the original warrant to the designated
                                                                   judge through a filing with the Clerk's O~ce.




    Dale: 1►_~~7~ L_tt
                                        __                           y~_G~AQ.(~
                                                                    ~~~.
                                                                                                                    _. .               __.
                                                                                         Exec ing offrcer's sig~aature



                                                                                            Printed name and till




AUSA: Devon Myers (x0649)
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                                                      ATTACHMENT A

       DEVICES TO BE SEARCHED

             The following digital devices seized by the U.S. Army

       Garrison Investigators in Kwajalein on or about May 7, 2016, and

       are currently in the possession of the Federal Bureau of

       Investigation in Los Angeles, California:

                   a.        One CANON EOS 5D Mark III camera with serial

       number 0820240 13286, black in color, made of plastic with

       attached lens (CANON Zoom Lens EF 24-70 mm 1 :2.8) ("SUBJECT

       DEVICE ONE");

                   b.        One white iPhone, model A 1532, with IMEI

       358821053678253 with a case printed with a Marshall Islands'

       flag ("SUBJECT DEVICE TWO");

                   c.        One black Dell laptop made of plastic, model

       Latitude E5500, service tag number 7K99KHI(no observable serial

       number), and with "Alberts View" sticker adhered to the lid

       ("SUBJECT DEVICE THREE")0 ~'~~ V~                                                  ,receci,~'v~.~ clev~C~S ~ ~Y~¢
                                                                        , IAl1~.. ~rV~.r_. P
                                           ~6         '► SUQJ~7 ~DEY~CES )O
                   d.        One black computer                        ower wit      the name "Coo er
~(~-   Master"          he front and top with a UPC label #RC922MKKN                                     I
       0 900971. A sticke               approximately 3"x I 1/2", gree                          nd purple

       in color is located on the                         ht hand side                  marked for
       identification as BMF1153717                     ("SU               DEVICE FOUR") ;

                   e.       One flas                  ive, SanDisk bran                 black and silver
       ' n color, with           B 3.0, 32 GB" written on top, and                                nDisk"
        ritte    in red on front AND marked for identification as

                        " ST7R,TRC''T   f~F.~TTC''R   F'T~TT~'~~ 1 .




                                                                  i       Instrumentality Protocol
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            f.   One white DVD titled "Digital Photography DVD,"

 ith illegible handwriting next to "Bad Reads" and

'Territ ry/Studio/Job No," and marked for identification as

 MF1154617 ("SUBJECT DEVICE SIX");

            g.   One white DVD, titled "Liletouch Sp         ial Events"

 nd and marked     r identification as BMF1154617       "SUBJECT DEVIC

 EVEN");

            h.   One wh to DVD titled "Lifeto ch Special Events"

 nd marked for identific tion as BMF 154         7 ("SUBJECT DEVICE

 IGHT") ;

            i.   One silver CD-     with    ilver writing, Verbatim

 rand, 700 MB and marked for id         fication as BMF/ 154617

"SUBJECT DEVICE NINE");

            j.   One black Sams    g CD     ith white writing titled

Samsung Solid State Drive" on the rig t side ("SUBJECT DEVICE

 EN")

            k.   One whi    DVD titled "Digit       Photography DVD,"

~ith handwriting nex     to "Territory/Studio/Jo      No." that reads

Windows 7" and ma ked for identification as B          /154617

"SUBJECT DEVIC     ELEVEN");

            1.   One silver Memorex CD-R with 700 MB             orage and

he words     ecovery CD" written on the top and "Win 7' is

ritten      the bottom. Disc was stored in a paper sleeve with

lear    lastic front. Scribbling is visible on the top of t e

ap r sleeve in black ink. The seals were marked for

                     MFI154617 ("SUBJEc'T nR~rTrF   TWFT,trF~~   1




                                       ii   Instrumentality Protocol
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             m.      One black and red SanDisk flash drive, Extreme

iodel, with storage of 4 GB, with white, gold, and red prin .

 lash dri         is stored in a clear plastic case. The seals            ere

larked for i         tification as BMFI1 54217 MAY 16 ("SUB           CT DEVICE

'HIRTEEN");

             n.     One    een Kingston Technology fl        h drive with I

~B of storage with a p          ture of white flower     n front and marked

'or identification as BMF         I 54217 MAY 16     `SUBJECT DEVICE

'OURTEEN");

            o.      One black and g ld Lex       flash drive,

professional 233x model, with 16         B of storage, with black and

~hite print.       Flash drive is sto      in a clear plastic case and

,arked for identification as B FI154           7 MAY 16 ("SUBJECT DEVICE

'IFTEEN");

            p.      One black    nd gold Lexar     ash drive,

 rofessiona1400x model, with 16 GB of stora e, with black and

 bite print.       Flash   rive is stored in a Ilea       plastic case and

arked for identi ication as BMF/154217 MAY 16               "SUBJECT DEVICE

IXTEEN");

            q.      Fourteen gold and silver Maxell DVD-R's with 4.7

B of stor        e, stored in original black plastic spindl            with

 Lear pl    tic cover and marked for identification as BMF 154617

AY 16   "SUBJECT DEVICES SEVENTEEN through THIRTY");

            r.      Four silver Verbatim DVD-R's with 4.7 GB of

to age, unmarked with top and bottom plastic cover from

r ginal packaging. The Discs are very scratched on both sides

Cld martc~~_~~lr3entif icat'~i_~~~ $P4'
                                      ~'
                                       -       TET7 ~+4A`~l F ~ ~~ erlu -r~rm



                                         iii   Instrumentality Protocol
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                                               (collectively, with the

 reced'      vices, the "SUBJECT DEVICES"T




                                      iv   Instrumentality Protocol
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                                         ATTACHMENT B

     ITEMS TO BE SEIZED

               1.     The items to be seized are the evidence, fruits, and

     instrumentalities of violations of ~S ~~~~_~
                                             :    -~ '' ^-~1 (~?-, ~~` r,

                                                        .                         ,

~-   ~...h
        s~r~        ~~ese ~s ~e~ e~ E~~ ~~~s~~o~raia~5-,—~~ H ~ ~--§—T= ^^ ; _ ~ _    -



     ~.r~,stit~         ~ 18 U.S.C. § 2423(b)(travel with intent to engage

     in illicit sexual conduct) and 18 U.S.C. § 2423(c) (engaging in

     illicit sexual conduct in foreign places), (collectively, the

     "SUBJECT OFFENSES"), from the SUBJECT DEVICES, as defined in

     Attachment A, namely:




                                           ---                      --       --




                                                  i   Instrumentality Protocol
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                    a.
                   fzY.   Any records, documents, programs, applications,

         or materials, including electronic mail and electronic messages,
,~~~--                    I'Vl.C.                              I~~ or ur~hetid~' C.lo~h.cs ;
         that identify                  visually depicted ~-               ~~~ ~~~~




                               e      an
                    b
                   ~.     Any records, documents, programs, applications,

         or materials, including electronic mail and electronic messages,

         that pertains to accounts with any Internet Service Provider;

                    ~'.   Any and all communications with individuals who
                                    I~1.~. or N.G.~
         can be identified as      g-~.r.
                   C~.
                   ~f.  Any and all evidence of travel plans, making

         travel plans, and financing travel plans;
                   e.
                  ,~.   Any records, documents, programs, applications,

         or materials, including electronic mail and electronic messages,

         regarding ownership and/or possession and/or use of any digital

         devices) found inside the SUBJECT DEVICES;




                                                      ii   Instrumentality Protocol
Case 2:16-mj-01342-DUTY Document 3 Filed 11/17/16 Page 9 of 48 Page ID #:106




      2.   With respect to any SUBJECT DEVICE used to facilitate

the above-listed violations or containing evidence falling

within the scope of the foregoing categories of items to be

seized:

           a.    evidence of who used, owned, or controlled the

device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history,, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

           b.    evidence of the presence or absence of software

that would allow others to control the device, such as viruses,

Trojan horses, and other forms of malicious software, as well as

evidence of the presence or absence of security software

designed to detect malicious software;

           c.    evidence of the attachment of other devices;

           d.    evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

           e.    evidence of the times the device was used;

           f.    passwords, encryption keys, and other access

devices that may be necessary to access the device;

           g.    applications, utility programs, compilers,

interpreters, or other software, as well as documentation and




                                      iii   Instrumentality Protocol
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 manuals, that may be necessary to access the device or to

 conduct a forensic examination of it;

               h.    records of or information about Internet Protocol

addresses used by the device~

               s     rc~rnrr~e   6
                                 , €-~~r~i~ta~~~a~—~~aeu~~~e ~~~=}tee-~s-~-zr



k;s~~~~--~sl--c~~~~c3s-, ~~]aer~~=m~~~~ed~--ez--zoo=ei~-rte~,aei~-~g~s~.,r-

.cc~r_~_h   t orm8 ~~3&~ ~~32 !~B6~' ~~~Y'~~~~~s~ ~33~~Ei~3~e ~ -£.~ai~:i
                                                                            Yr

axzg~ tee, -a,~—~~esr~s e € t~~ee~--~a~e~—~~~~e e ee s~,~.~,-

II.    SEARCH PROCEDURES FOR DIGITAL DEVICES

       3.      In searching the SUBJECT DEVICES (or forensic copies

thereof), law enforcement personnel executing this search

warrant will employ the following procedure:

               a.    Law enforcement personnel or other individuals

assisting law enforcement personnel (the "search team") may

search any SUBJECT DEVICE capable of being used to facilitate

the above-listed violations or containing data falling within

the scope of the items to be seized.

               b.    The search team will, in its discretion, either

search each SUBJECT DEVICE where it is currently located or

transport it to an appropriate law enforcement laboratory or

similar facility to be searched at that location.

               c.    The search team shall complete the search of the

SUBJECT DEVICE S) as soon as is practicable but not to exceed

120 days from the date of issuance of the warrant.               If

additional time is needed, the government may seek an extension




                                             iv   Instrumentality Protocol
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of this time period from the Court on or before the date by

which the search was to have been completed.

            d.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                  i.    The search team may subject all of the data

contained in each SUBJECT DEVICE capable of containing any of

the items to be seized to the search protocols to determine

whether the SUBJECT DEVICE and any data thereon falls within the

scope of the items to be seized.        The search team may also

search for and attempt to recover deleted, "hidden," or

encrypted data to determine, pursuant to the search protocols,

whether the data falls within the scope of the items to be

seized.

                  ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                 iii. The search team may use sophisticated

hashing tools, such as tools for identifying child pornography,

including "Encase" and "FTK" (Forensic Tool Kit).

            e.   If the search team, while searching a SUBJECT

DEVICE, encounters immediately apparent contraband or other

evidence of a crime outside the scope of the items to be seized,

the team shall immediately discontinue its search of that

SUBJECT DEVICE pending further order of the Court and shall make

and retain notes detailing how the contraband or other evidence




                                        v   Instrumentality Protocol
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of a crime was encountered, including how it was immediately

apparent contraband or evidence of a crime.

            f.    If the search determines that a SUBJECT DEVICE

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the SUBJECT DEVICE and delete or destroy all forensic copies

thereof.

            g.    If the search determines that a SUBJECT DEVICE

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.

            h.   If the search determines that the SUBJECT DEVICE

is (1) itself an item to be seized and/or (2) contains data

falling within the list of items to be seized, the government

may retain forensic copies of the SUBJECT DEVICE but may not

access them (after the time for searching the device has

expired) absent further court order.

            i.   The government may retain a SUBJECT DEVICE itself

until further order of the Court or one year after the

conclusion of the criminal investigation or case (whichever is

latest), only if the SUBJECT DEVICE is determined to be an

instrumentality of an offense under investigation or the

government, within 14 days following the time period authorized

by the Court for completing the search, obtains an order from

the Court authorizing retention of the SUBJECT DEVICE (or while

an application for such an order is pending).         Otherwise, the

government must return the SUBJECT DEVICE.



                                       vi   Instrumentality Protocol
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            j.   Notwithstanding the above, after the completion

of the search of the SUBJECT DEVICE(S), the government shall not

access digital data falling outside the scope of the items to be

seized absent further order of the Court.

      4.    The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




                                       vii   Instrumentality Protocol
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                                 AFFIDAVIT

I, Randall Devine, being duly sworn, declare and state as

follows:

                             I. INTRODUCTION

      1.    I am a Special Agent ("SA") with the Federal Bureau of

Investigation ("FBI"), and I have been so employed for over

seventeen years. I currently investigate the sexual exploitation

of children, including the production, distribution, and

possession of child pornography, in the Central District of

California, as part of the Southern California Regional Sexual

Assault Felony Enforcement ("SAFE") Team. The SAFE Team is

responsible for enforcing federal criminal statutes involving

the sexual exploitation of children under Title 18, United

States Code, Section 2251, et seq. During my tenure as a Special

Agent, I have conducted and participated in numerous

investigations of criminal activity, including, but not limited

to, child pornography investigations and the sexual exploitation

of children. During the investigation of these cases, I have

executed and participated in the execution of search and arrest

warrants and seized evidence of violations of United States

laws. I have also attended training classes and seminars

concerning computer crimes and the sexual exploitation of

children.

      2.    While employed by the FBI as a SA in the Los Angeles

Division, I have worked closely with colleagues and several task

force officers ("TFOs") who investigate federal criminal

violations related to high technology or cyber crime, child



                                           Instrumentality Protocol
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exploitation, and child pornography.        I have had the opportunity

to observe numerous examples of child pornography (as defined in

18 U.S.C. § 2256) in many forms of media, including computer

media.

                        II. PURPOSE OF AFFIDAVIT

      1.     This affidavit is made in support of a search warrant

for the SUBJECT DEVICES described in Attachment A, for the items

to be seized described in Attachment B.

      2.     The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested warrant and does

not purport to set forth all of my knowledge of or investigation

into this matter.     Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

                      III. DEVICES TO BE SEARCHED

      3.    The devices to be searched are the thirty four SUBJECT

DEVICES described in Attachment A, which is incorporated herein

by reference.

                         IV. ITEMS TO BE SEIZED

      4.   The items to be seized are the evidence, fruits, and

instrumentalities of violations of 18 U.S.C. § 2251(a), (e)

(production of child pornography); 18 U.S.C. § 2252(a)(5)(B),

(b)(2) (possession of child pornography); 18 U.S.C. § 2422(a),

(b) (persuading or coercing someone to travel to engage in



                                        2   Instrumentality Protocol
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prostitution); 18 U.S.C. § 2423(b)(travel with intent to engage

in illicit sexual conduct) and 18 U.S.C. § 2423(c) (engaging in

illicit sexual conduct in foreign places), (collectively, the

"SUBJECT OFFENSES"), as described in Attachment B, which is

incorporated herein by reference.

                           V. SUMMARY OF PROBABLE CAUSE

       5.     Based on my review of reports from and interviews with

Investigators from the Marshall Islands Police Department

("MIPD"), and my communications with Investigator Thomas A.

Bedwell ("Investigator Bedwell") from the U.S. Army Garrison and

SA Gary Nations ("SA Nations") from the U.S. Army Criminal

Investigative Division, I learned that ALBERT ISAJANYAN

("ISAJANYAN"), who was working at the U.S. Army Garrison on

Kwajalein Atoll ("USAG-KA"), was identified as a person who

travelled to a nearby island to have a sexual relationship with

a fifteen year old girl. TSAytwyt+•a wf~S ~WAC`t~'++~•~ ~R-Cg'1 ~I~'
                                                                   S~
of p V'Y.'~.~ ~'hC;, V i~u:..
       6.     As a United States military base, USAG-KA is within

the territorial jurisdiction of the United States of America

such that I am empowered to conduct lawfully-authorized searches

and seizures of the devices that were seized there and are now

in my possession for a target who also has a residence in the

Central District of California.

       7.     Both the fifteen year old victim and another under-age

witness provided statements that ISAJANYAN had nude pictures of

the victim on SUBJECT DEVICES ONE and TWO and had a sexual

relationship with the victim.          After completing their

investigation, MIPD officers as well as officers from USAG-KA



                                          3   Instrumentality Protocol
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searched ISAJANYAN and his apartment and recovered the SUBJECT

DEVICES.

                             VI. DEFINITIONS

        8.   The following terms, as used in this affidavit, have

the following meanings:

             a.   "Minor," "sexually explicit conduct," "visual

depiction," "producing," and "child pornography" are defined as

set forth in 18 U.S.C. § 2256;

             b.   "Child Erotica" means materials or items that are

sexually arousing to persons who have a sexual interest in

minors, but that are not, in and of themselves, legally obscene,

or do not necessarily depict minors in sexually explicit

conduct;

             c.   "Computer" is defined pursuant to 18 U.S.C. §

1030(e)(1) as "an electronic, magnetic, optical,

electrochemical, or other high speed data processing device

performing logical or storage functions, and includes any data

storage facility or communications facility directly related to

or operating in conjunction with such device;

             d.   "Computer software" or "software" is digital

information that can be interpreted by a computer or any of its

related components to direct the way they work.          Computer

software is stored in electronic, magnetic, or other digital

form.    It commonly includes programs to run operating systems,

applications, and utilities;

             e.   "File Transfer Protocol" ("FTP") is a standard

network protocol used to transfer computer files from one host



                                        4   Instrumentality Protocol
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to another over a computer network, such as the Internet.            FTP

is built on client-server architecture and uses separate control

and data connections between the client and the server.

            f.    "Internet" is defined as the worldwide network of

computers -- a noncommercial, self-governing network devoted

mostly to communication and research with roughly 500 million

users worldwide.     The Internet is not an online service and has

no real central hub.      It is a collection of tens of thousands of

computer networks, online services, and single user components.

In order to access the Internet, an individual computer user

must use an access provider, such as a university, employer, or

commercial Internet Service Provider, which operates a host

computer with direct access to the Internet.

            g.   "Internet Service Providers" ("ISPs") are

commercial organizations that are in business to provide

individuals and businesses access to the Internet.          ISPs provide

a range of functions for their customers, including access to

the Internet, web hosting, e-mail, remote storage, and co-

location of computers and other communications equipment.            ISPs

can offer a range of options in providing access to the

Internet, including telephone based dial-up, broadband based

access via digital subscriber line ("DSL") or cable television,

dedicated circuits, or satellite based subscription.          ISPs

typically charge a fee based upon the type of connection and

volume of data, called bandwidth, which the connection supports.

Many ISPs store information such as a subscriber's account name

(a user name or screen name), an e-mail address, an e-mail



                                        5   Instrumentality Protocol
Case 2:16-mj-01342-DUTY Document 3 Filed 11/17/16 Page 19 of 48 Page ID #:116




 mailbox, and a personal password selected by the subscriber.            By

using a computer equipped with a modem, the subscriber can

establish communication with the ISP over a telephone line,

through a cable system or via satellite, and can access the

Internet by using his or her account name and personal password.

            h.    "Military Extraterritorial Jurisdictional Act" or

"MEJA" is codified at 18 U.S.C. § 3621 and provides that:

"Whoever engages in conduct outside the United States that would

constitute an offense punishable by imprisonment for more than 1

year if the conduct had been engaged in within the special

maritime and territorial jurisdiction of the United States while

employed by or accompanying the Armed Forces outside the United

States shall be punished as provided for that offense."           MEJA

defines "employed by the Armed Forces outside the United States"

to include civilian employees of the Department of Defense or

any other federal agency to the extent that the employment

relates to supporting the mission of the Department of Defense

overseas who is present or residing outside the United States in

connection with that employment and is not a national of the

host nation.

                   VII. STATEMENT OF PROBABLE CAUSE

      9.    Based on my review of the reports written by MIPD

Investigator Yoshi J. Kemem       ("Investigator Kemem"), MIPD

Investigator Alexander Capelle ("Investigator Capelle"),

Sergeant Robert Stack ("Sergeant Stack") from the United States

Army Provost Marshal Office, and Gregory Bush from the Office of

the Provost Marshal, and debriefings with other law enforcement



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officers, including Investigator Bedwell and SA Nations, I am

aware of the following:

             a.   According to a report from Investigator Kemem, on

the evening of May 4, 2016, Investigator Kemem, from the

Marshall Atoll of Kwajalein,l received a complaint from Melu

Loeak ("Leoak"), a resident of the nearby Marshall Atoll of

Ebeye.     Loeak wanted to alert the MIPD on Kwajalein that an

American male from Kwajalein visited Ebeye to contact under-aged

females.    Loeak identified two under-aged females and explained

that the American was a supervisor who was using his local

employee, someone named Barson Calep ("Calep"), to introduce him

to the under-aged girls.      Loeak further reported that the

American spent the night with the under-aged girls at the Ebeye

Hotel as well as other places.       Investigator Kemem instructed

Loeak to have the mothers of the under-aged girls file a police

report with the MIPD in Ebeye.

            b.    According to the report from Investigator Kemem,

he believed that the American Loeak described was ISAJANYAN

because the reported contact offender was a supervisor for whom

Calep worked, and Kemem's familiarity with the Americans who

live on Kwajalein and work on the military base.          Kemem knew

that ISAJANYAN was a supervisor and that Calep worked for him.

            c.    In a subsequent interview, Investigator Kemem

told me that he printed pictures of ISAJANYAN from the


     1 Based on my own research and discussions with local
investigators, I know that the Kwajalein Atoll is the location
of a large U.S. space tracking and missile defense facility
operated by the Department of Defense.



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Electronic Badging System, a records database used on the

Kwajalien Atoll to identify everyone who was affiliated with the

military base, so that he could ask witnesses about his identity

in connection with the investigation.2

            d.   According to the reports from Investigator Kemem

and Investigator Capelle, the next day, on May 5, 2016,

Investigator Kemem visited MIPD's office in Ebeye and met with

Investigator Capelle and others regarding the allegations and

his belief that the suspect was ISAJANYAN.         Investigator Kemem

relayed Loeak's tip that the mother of one of the under-aged

women, Amiko Lome ("Lome"), found her daughter, N.G., mingling

with Calep, the American (now suspected to be ISAJANYAN), and

another under-aged woman, M.C.

            e.   According to the report from Investigator

Capelle, he interviewed Lome on May 5, 2016.         Lome told

Investigator Capelle that after her daughter N.G. failed to

appear for her curfew, Lome looked for her and found her the

next day, on May 1, 2016, at Calep's residence.          Lome reported

that the American and M.C. were also there.         Lome told

investigators that her daughter was sixteen years old.

           f.    According to the report from Investigator

Capelle, he then interviewed N.G, in Lome's presence.           N.G. told

Investigator Capelle that an adult male named "Albert" provided



     2 I know from the reports of investigation and my
communications with Investigator Kemem that ISAJANYAN is a
United States citizen and a civilian employee at the military
base on Kwajalein Atoll and that he is not a national or
ordinarily a resident of the Marshall Islands.



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alcohol to M.C., who was N.G.'s friend, and that M.C. told N.G.

that she (M.C.) had engaged in sex with Albert.          N.G. also

reported that "Albert" had nude photographs of M.C. on his

cellphone.       N.G. said that prior to Lome's arrival at Calep's

house, "Albert" was leaving to catch the ferry to Kwajalein and

told the group that he would be returning and that they should

all meet up again.

            g.     In a subsequent interview, Investigator Kemem

told me that both Lome and N.G. confirmed that the photograph of

ISAJANYAN from the electronic badging system was the person they

knew as "Albert."

            h.     According to the reports from Investigator Kemem

and Investigator Capelle, they then interviewed M.C. in the

presence of her grandmother.       M.C. was fifteen.3     M.C. told the

investigators that she met "Albert" the year before and they

began a relationship.      M.C. reported that she had engaged in sex

with "Albert" about six times, including at the Ebeye Hotel.

M.C, stated that N.G. took two photos of M.C. nude, one inside a

bathroom and the other on a bed, and that those photographs were

stored on "Albert's" cellular telephone (SUBJECT DEVICE TWO).

M.C. said that "Albert" had photographs of her with and without

clothes on both his cellular telephone (SUBJECT DEVICE TWO) and

his camera (SUBJECT DEVICE ONE).

            i.     In a subsequent interview, Investigator Kemem

told me that he showed M.C. the photograph of ISAJANYAN from the


     3 I have confirmed that M.C. was born in August 2000 through
a copy of her birth certificate.




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Electronic Badging System and she confirmed that it was the

person she knew as "Albert."

            j.    Based on all of this information, the

investigators concluded that the American identified as "Albert"

was ISAJANYAN.

            k.    In a subsequent interview on or about May 6,

2016, Investigator Kemem and Investigator Capelle interviewed

Calep at the police station on Ebeye.        When the investigators

asked Calep why he thought they wanted to interview him, Calep

immediately stated that he thought it was to discuss the girls

that he would find for his boss, "Albert."         Calep said that he

thought the girls that he brought to "Albert" were 18 years'

old.   Investigator Kemem then confirmed with Calep's employer

that Calep's supervisor was ISAJANYAN.

            1.   On May 6, 2016, Inspector Kemem applied for

authority within the military command to apprehend ISAJANYAN, to

search his work areas, and to seize his cellular telephone

(SUBJECT DEVICE TWO) and camera (SUBJECT DEVICE ONE), both of

which Investigator Kemem believed to have nude photographs of

M.C.   Because ISAJANYAN worked on the USAG-KA, Inspector Kemem

submitted the request up through the proper military channels to

Colonel Michael M. Larsen ("Colonel Larsen"), the U.S. Army

Commander for the base.      Colonel Larsen approved it.      A true and

correct copy is attached hereto as Exhibit A and is incorporated

by reference herein.

           m.    According to a report from Sergeant Robert Stack

("Sergeant Stack") from the Department of Army Civilian Police,



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he, along with two other sergeants, arrested ISAJANYAN when he

returned on the ferry from Ebeye on May 6, 2016.          Sergeant Stack

also confiscated SUBJECT DEVICE TWO, which is a cellular

telephone, as set forth in Attachment A, at that time from

ISAJANYAN's person.     ISAJANYAN refused to unlock SUBJECT DEVICE

TWO.

             n.   Sergeant Stack, as documented in his report, then

sought military permission to search ISAJANYAN's assigned

quarters, known as Sands BQ room 108, to find ISAJANYAN's camera

(SUBJECT DEVICE ONE) because it was not on ISAJANYAN at the time

of his arrest.     Colonel Larsen approved that request on May 7,

2016.     A true and correct copy is attached hereto as Exhibit B

and is incorporated by reference herein.         During the search of

ISAJANYAN's room, Sergeant Stack recovered SUBJECT DEVICE ONE,

which is a digital camera that matched the description provided

by the witnesses and is further described in Attachment A below.

During the search the law enforcement officers also saw other

digital devices and places where digital devices could be

stored.    They also found marijuana.

            o.    Also on May 7, 2016, as documented in the report

from Sergeant Stack, Sergeant Ryan Brocksmith sought military

permission to conduct another search of Sands BQ room 108 to

seize the digital media that law enforcement officers saw during

their initial search.     Colonel Larsen approved the request.        A

true and correct copy is attached hereto as Exhibit C and is

incorporated by reference. Officers then seized SUBJECT DEVICES

THREE through THIRTY FOUR from ISAJANYAN's residence.



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             p.     On May 7, 2016, as documented in a letter from

Colonel Larsen to ISAJANYAN, Colonel Larsen issued an immediate,

permanent bar of ISAJANYAN from USAG-KA due to his possession of

marijuana.

             q.     That same day, Sergeant Stack, as documented in

the rights warning certificate, interviewed ISAJANYAN and

advised him of his rights.       ISAJANYAN indicated he wanted a

lawyer and did not speak with Sergeant Stack.

      10.   On June 2, 2016, Supervisory Police Officer James

Edwards, a U.S. Army Civilian Police Officer, notified me that

ISAJANYAN provided his contact information for where he would be

living after leaving Kwajalein, which is an address in Granada

Hills, California.       I conducted a database search for ISAJANYAN

and found that, as of May 26, 2016, the address associated with

him matched the address ISAJANYAN provided to Officer Edwards.

    VIII.         TRAINING AND EXPERIENCE ON CHILD PORNOGRAPHY AND
                  INDIVIDUALS WITH SEXUAL INTEREST IN CHILDREN

      A.    Training on Child Pornography and Computers

      11.   Based on my training and experience, and the training

and experience of other law enforcement officers experienced in

investigating crimes involving the sexual exploitation of

children -with whom I have had discussions, I know the following:

            a.     Computers and digital technology have

dramatically changed the way in which individuals interested in

child pornography interact with each other.         Computers basically

serve four functions in connection with child pornography:

production, communication, distribution, and storage.




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            b.     Individuals with an interest in child pornography

can now transfer printed photographs into a computer-readable

format with a device known as a scanner.         Furthermore, with the

advent of digital cameras, when a photograph is taken, it is

saved as a digital file that can be directly transferred to a

computer by simply connecting the camera to the computer.           In

the last ten years, the resolution of pictures taken by digital

cameras has increased dramatically, meaning the photos taken

with digital cameras have become sharper and crisper.           Photos

taken on a digital camera can be stored on a removable memory

card in the camera.      These memory cards often store up to 32

gigabytes of data, which provides enough space to store

thousands of high-resolution photographs.         Video camcorders,

which once recorded video onto tapes or mini-CDs, now can save

video footage in a digital format directly to a hard drive on

the camera.      The video files can then be easily transferred from

the camcorder to a computer.

            c.    A device known as a modem allows any computer to

connect to another computer through the use of telephone, cable,

or wireless connection.      Electronic contact can be made to

literally millions of computers around the world.          The ability

to produce child pornography easily, reproduce it inexpensively,

and market it anonymously (through electronic communications)

has drastically changed the methods of distributing and

receiving child pornography.       Child pornography can be

transferred via electronic mail or through FTPs to anyone with

access to a computer and modem.       Because of the proliferation of



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commercial services that provide electronic mail service, chat

services (e.g., Instant Messaging), and easy access to the

Internet, the computer is a preferred method for distributing

and receiving child pornography.

            d.    The computer's ability to store images in digital

form makes the computer itself an ideal repository for child

pornography.     The size of the electronic storage media (commonly

referred to as the hard drive) used in home computers has grown

tremendously within the last several years.         These drives can

store thousands of images at very high resolution.          In addition,

there are numerous options available for the storage of computer

or digital files.     One-Terabyte external and internal hard

drives are not uncommon.      Other media storage devices include

CDs, DVDs, and "thumb," "jump," or "flash" drives, which are

very small devices which are plugged into a port on the

computer.    It is extremely easy for an individual to take a

photo with a digital camera, upload that photo to a computer,

and then copy it (or any other files on the computer) to any one

of those media storage devices (CDs and DVDs are unique in that

special software must be used to save or "burn" files onto

them).   Media storage devices can easily be concealed and

carried on an individual's person.

            e.   The Internet affords individuals many different

venues for obtaining, viewing, and trading child pornography in

a relatively secure and anonymous fashion.

            f.   Individuals can also use online resources to

retrieve and store child pornography, including services offered



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by Internet Portals such as Yahoo! and Hotmail, among others.

The online services allow a user to set up an account with a

remote computing service that provides e-mail services, as well

as electronic storage of computer files in a variety of formats.

A user can set up an online storage account from any computer

with access to the Internet.       Even in cases where online storage

is used, however, evidence of child pornography can be found on

the user's computer or external media in most cases.

            g.   As is the case with most digital technology,

communications via a computer can be saved or stored on the

computer used for these purposes.        Storing this information can

be intentional, such as by saving an e-mail as a file on the

computer or saving the location of one's favorite websites in,

for example, "bookmarked" files.       Digital information can also

be retained unintentionally, because traces of the path of an

electronic communication may be automatically stored in many

places, including in temporary files or ISP client software,

among other locations.      In addition to electronic

communications, a computer user's Internet activities generally

leave traces or "footprints" in the web cache and history files

of the browser used.     Such information is often maintained

indefinitely until overwritten by other data.

      B.    Training and Experience On Individuals With Sexual
            Interest In Children

      12.   As set forth above, there is probable cause to believe

that SUBJECT DEVICES ONE and TWO contain sexually explicit

images of children based on the witnesses' reports.          Because I




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know from my training and experience that people who collect

sexually explicit images of children store it on multiple

devices, I believe the existence of sexually explicit images on

SUBJECT DEVICES ONE and TWO gives rise to probable cause to

believe that there is child pornography or sexually explicit

images of children on SUBJECT DEVICES THREE through THIRTY FOUR.

      13.   There is also probable cause to believe the SUBJECT

DEVICES contain information about ISAJANYAN's travel to sexually

contact juveniles.     Based on my training and experience, and the

training and experience of other law enforcement officers

experienced in investigating crimes involving the sexual

exploitation of children with whom I have had discussions, I

have learned that individuals who produce and store sexually

graphic images of children have a sexual interest in children

and that there are certain characteristics common to such

individuals:

            a.   Individuals who have a sexual interest in

children or images of children may receive sexual gratification,

stimulation, and satisfaction from contact with children; or

from fantasies they may have viewing children engaged in sexual

activity or in sexually suggestive poses, such as in person, in

photographs, or in other visual media; or from literature

describing such activity.

            b.   Individuals who have a sexual interest in

children or images of children may collect sexually explicit or

suggestive materials, in a variety of media, including

photographs, magazines, motion pictures, videotapes, books,



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slides, and/or drawings or other visual media.          Individuals who

have a sexual interest in children or images of children

oftentimes use these materials for their own sexual arousal and

gratification.     Further, they may use these materials to lower

the inhibitions of children they are attempting to seduce, to

arouse the selected child partner, or to demonstrate the desired

sexual acts.

            c.   Individuals who have a sexual interest in

children or images of children almost always possess and

maintain their "hard copies" of child pornographic material,

that is, their pictures, films, video tapes, magazines,

negatives, photographs, correspondence, mailing lists, books,

tape recordings, etc., in the privacy and security of their home

or some other secure location.       Individuals who have a sexual

interest in children or images of children typically retain

pictures, films, photographs, negatives, magazines,

correspondence, books, tape recordings, mailing lists, child

erotica, and/or videotapes for many years.

           d.    Likewise, individuals who have a sexual interest

in children or images of children often maintain their

collections that are in a digital or electronic format in a

safe, secure and private environment, such as a computer and

surrounding area.     These collections are often maintained for

several years and are kept close by, usually at the collector's

residence or inside the collector's vehicle, to enable the

individual to view the collection, which is valued highly.




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            e.    Individuals who have a sexual interest in

children or images of children also may correspond with and/or

meet others to share information and materials; rarely destroy

correspondence from other child pornography

distributors/collectors; conceal such correspondence as they do

their sexually explicit material; and often maintain lists of

names, addresses, and telephone numbers of individuals with whom

they have been in contact and who share the same interests in

child pornography.

            f.    Individuals who have a sexual interest in

children or images of children prefer not to be without their

child pornography for any prolonged time period.          This behavior

has been documented by law enforcement officers involved in the

investigation of child pornography throughout the world.

            g.    Child pornography received via computer is

extremely mobile.     Through computer technology, digital files

are easily reproduced and transported.        For example, with the

click of a button, images and videos containing child

pornography can be put onto thumb drives so small that they fit

onto a keychain.     Just as easily, these files can be copied onto

floppy disks or compact disks, and/or stored on iPods,

Blackberries, or cellular telephones.        Because ISAJANYAN likely

collects and values child pornography and sexually explicit

images of children, which are easily-stored and duplicated,

there is probable cause to believe that evidence of a child

pornography collection will be found in the SUBJECT DEVICES.




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            IX. TRAINING AND EXPERIENCE ON DIGITAL DEVICES

      14.   Based on my knowledge, training, and experience, as

well as information related to me by agents and others involved

in the forensic examination of digital devices, I know that it

is not always possible to search digital devices for digital

data in a single day or even over several weeks for a number of

reasons, including the following:

            a.    Searching digital devices can be a highly

technical process that requires specific expertise and

specialized equipment.      There are so many types of digital

devices and software programs in use today that it takes time to

conduct a thorough search.       In addition, it may be necessary to

consult with specially trained personnel who have specific

expertise in the type of digital device, operating system, and

software application being searched.

            b.   Digital data is particularly vulnerable to

inadvertent or intentional modification or destruction.

Searching digital devices can require the use of precise,

scientific procedures that are designed to maintain the

integrity of digital data and to recover "hidden," erased,

compressed, encrypted, or password-protected data.          As a result,

a controlled environment, such as a law enforcement laboratory

or similar facility, is essential to conducting a complete and

accurate analysis of data stored on digital devices.

            c.   The approximate storage volume of the items to be

searched is 456.5 gigabytes.       A single megabyte of storage space

is the equivalent of 500 double-spaced pages of text.           A single



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gigabyte of storage space, or 1,000 megabytes, is the equivalent

of 500,000 double-spaced pages of text.

            d.    Electronic files or remnants of such files can be

recovered months or even years after they have been downloaded

onto a hard drive, deleted, or viewed via the Internet.

Electronic files saved to a hard drive can be stored for years

with little or no cost.      Even when such files have been deleted,

they can be recovered months or years later using readily-

available forensics tools.       Normally, when a person deletes a

file on a computer, the data contained in the file does not

actually disappear; rather, that data remains on the hard drive

until it is overwritten by new data.        Therefore, deleted files,

or remnants of deleted files, may reside in free space or slack

space, i.e., space on a hard drive that is not allocated to an

active file or that is unused after a file has been allocated to

a set block of storage space, for long periods of time before

they are overwritten.      In addition, a computer's operating

system may also keep a record of deleted data in a swap or

recovery file.     Similarly, files that have been viewed on the

Internet are often automatically downloaded into a temporary

directory or cache.     The browser typically maintains a fixed

amount of hard drive space devoted to these files, and the files

are only overwritten as they are replaced with more recently

downloaded or viewed content.       Thus, the ability to retrieve

residue of an electronic file from a hard drive depends less on

when the file was downloaded or viewed than on a particular

user's operating system, storage capacity, and computer habits.



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Recovery of residue of electronic files from a hard drive

requires specialized tools and a controlled laboratory

environment.      Recovery also can require substantial time.

            e.     Although some of the records called for by this

warrant might be found in the form of user-generated documents

(such as word processing, picture, and movie files), digital

devices can contain other forms of electronic evidence as well.

In particular, records of how a digital device has been used,

what it has been used for, who has used it, and who has been

responsible for creating or maintaining records, documents,

programs, applications and materials contained on the digital

devices are, as described further in the attachments, called for

by this warrant.      Those records will not always be found in

digital data that is neatly segregable from the hard drive image

as a whole.      Digital data on the hard drive not currently

associated with any file can provide evidence of a file that was

once on the hard drive but has since been deleted or edited, or

of a deleted portion of a file (such as a paragraph that has

been deleted from a word processing file).          Virtual memory

paging systems can leave digital data on the hard drive that

show what tasks and processes on the computer were recently

used.   Web browsers, e-mail programs, and chat programs often

store configuration data on the hard drive that can reveal

information such as online nicknames and passwords.          Operating

systems can record additional data, such as the attachment of

peripherals, the attachment of USB flash storage devices, and

the times the computer was in use.          Computer file systems can



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record data about the dates files were created and the sequence

in which they were created.       This data can be evidence of a

crime, indicate the identity of the user of the digital device,

or point toward the existence of evidence in other locations.

Recovery of this data requires specialized tools and a

controlled laboratory environment, and also can require

substantial time.

            f.    Further, evidence of how a digital device has

been used, what it has been used for, and who has used it, may

be the absence of particular data on a digital device.           For

example, to rebut a claim that the owner of a digital device was

not responsible for a particular use because the device was

being controlled remotely by malicious software, it may be

necessary to show that malicious software that allows someone

else to control the digital device remotely is not present on

the digital device.     Evidence of the absence of particular data

on a digital device is not segregable from the digital device.

Analysis of the digital device as a whole to demonstrate the

absence of particular data requires specialized tools -and a

controlled laboratory environment, and can require substantial

time.

            g.   Digital device users can attempt to conceal data

within digital devices through a number of methods, including

the use of innocuous or misleading filenames and extensions.

For example, files with the extension ".jpg~' often are image

files; however, a user can easily change the extension to ".txt"

to conceal the image and make it appear that the file contains



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text.   Digital device users can also attempt to conceal data by

using encryption, which means that a password or device, such as

a "dongle" or "keycard," is necessary to decrypt the data into

readable form.     In addition, digital device users can conceal

data within another seemingly unrelated and innocuous file in a

process called "steganography."       For example, by using

steganography a digital device user can conceal text in an image

file that cannot be viewed when the image file is opened.

Digital devices may also contain "booby traps" that destroy or

alter data if certain procedures are not scrupulously followed.

A substantial amount of time is necessary to extract and sort

through data that is concealed, encrypted, or subject to booby

traps, to determine whether it is evidence, contraband or

instrumentalities of a crime.

            h.   Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

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                             X.    CONCLUSION

      15.   For all the reasons described above, there is probable

cause to believe that the items listed in Attachment B, which

constitute evidence, fruits, and instrumentalities of violations

of the SUBJECT OFFENSES, will be found on the SUBJECT DEVICES,

as described in Attachment A.




                                         Randall Devine
                                         Special Agent Federal Bureau
                                         of Investigation

Subscribed to and sworn before me
this      day of June, 2016.




UNITED STATES MAGISTRATE JUDGE




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                            Exhibit A
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                                                   APPREHENSION AUTHORIZATION
                                           For use of this form, see AR 27-10; the proponent agency is OTJAG

TO: (Name and organization of the person to whom authorrzafion fs given)
Ryan C. I3ROCKSh11TH, DE5/PMO, USAG-Kr1, APU AP 96555-9498




(An affidavit)(A (sworn) or(unsworn) oral statement) having been made before me by                        Yoshi J. KE;VIEM
                                                                                                                   (Name ofA~anf)
  Alutiiq Security and r'lccess Control, DES, USAG-KA, APO AP 96555-9998
                                                           (Organization or Address of A~antJ

(which affidavit is attached hereto and made a paR of this authorization), and as I am satisfied that there is probable cause to
 believe that the matters mentioned in the affidavit are true and correct, that the offense set forth therein has been committed, and
 the person to be apprehended committed the offense and is located at the place to be searched, you are hereby ordered to search
 the place known as

 the KRS Public Works shop and any place on Kwajalein Island which Mr. Albert ISANJAN has been assigned to work

 for the person descirbed as       Mr. Albert ISANJANYAN, and pursuant to apprehension, search the person of ~1r. Albert

 ISANJ:~NYAN for the "lphone" ceUphone end camera described in the atlacheci affidavit of Mr. Yoshi L KEI~'E~1,




 bringing this order to the attention of the (person apprehended)(person in possession, if any person be found at the place or on the
 premises searched). The search will be made in the (daytime)(nrghtfime), and if the person described above is found there, you
 shall apprehend him/her.


 Dated this        6      day of                  i~~[ay                       201 G




 NPED NAME AND GRADE OF AUTHORIZING OFFICIAL                                     DUN POSITION OF AUTHORIZING OFFICIAL

  MICHAEL tit. LARSGN, Colonel, US Army
                                                                                COMMANDER
 ORGANIZATfON OF AUTHORIZING OFFICIAL                                            SIGNATURE OF AUTHORIZING OFFICI

  US Army Garrison -Kwajalein

r..
~/~ 1 V~\ICI Jl RJ~1~ JGr LVVG                     UM fVRIVI Jl4~-~-r(~ IYIHI"l b.7,   IJ VCJVLtIt.                                 ABU L[: v1.OlE5
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                                                                    SWORN STATEMENT
                                                For use of this form, see ,4R 190-45', the proponent agency is PMG.

                                                     PRIVACY ACT STATEMENT
AUTHORITY:         Title 10, USC Section 301; Title 5, USC Section 2951; E.O. 9397 Social Security Number (SSN).
PRINCIPAL PURPOSE: To document potential criminal activity involving the U.S. Army, and to allow Army officials to maintain discipline,
                   law and order through investigation of complaints and incidents.
ROUTINE USES:      Information provided may be further disclosed to federel, state, local, and foreign government lavr eniorcem2nt
                   agencies, proseutors, courts, child protective services, victims, witnesses, the Department of Velerars Affairs, 2nd
                    the Office of Personnel Management. Information provided may be used for determinations regarding judicial or
                    non-judicial punishment, o[her administrative disciplinary actions, security Gearances, recruitment, retention,
                    placement, and other personnel actions.
DISCLOSURE:                    Disclosure o(your SSN and other information is voluntary.
i. LOCATION                                                                     2. DATE(YYYYMMDD)n,► /~ 3. TIME    ,(~                        4. FILL NUMBER
U.S. Army Garrison, K~4-ajalein Atoll                                       I           20160506 `~` I         1100 t
5. LAST NAME, FIRST NAME, MIDDLE NAME       ~                                           6. SSN                                                ? GRADElSTATUS
K f:MGM, Yoshi J.                                                                     '                                                                 CIV
8 ORGANIZATION OR ~,DDR[SS
K~~ajalein Security and Access Control W-~443:i
9.
       Yoshi J. Kemem                                                                , W.ANT TO MAKE THE FOLLOWING STATEMENT UNDER OATI;:
On Wednesday, Q4 May 2016, at. arproxima[r..ly 2130 hrs., I received 2 phone calls li-om a member of the Ebeye community stating
that some mothers on Ebeye like ~o file a complaint about an American male ~i~ho reside on K1~ajalein ;hat going ov~rto Lbe~•e and
spend the night on Ebeye with several young underage Marshallese girls at the Ebeye hotel and other places. The int~ormatior: ~ti as
also received that the American male is a supervisor nn k;wajalein and he is using his employee that w•ark for him to eet the
M arshallese girls to him. "T'he caller also stated that the American vlale supervisor vas using his employee Barson Calep, 1'-70007 ,
K RS/Public Works m get the girls. 1 advised the c.atler I.o have the mothers go to the National Police Station on Ebeye and m~ei with
 Chie? of I'olicc Raney L3olkeim and his lnvesti~aturs to file a police report. Froi;~ alt the information that were received from the
 caller, an American male supen~isor teas later identified as Albert 1 sajany:~n, KRS/E'ublic works. T~+'o names of~ ylaishallese ~ r.ls
 juvenile were identified by the caller.

 (fin -l~h~n~sday, 0~ ~1ay 2016, at 0900 hrs., I called Chief o1' Police Raney Bolkeim and ad~•ised him about Ih~ phone call and
 requested to meet ~+~ith him and his investigators. At 17 0 hrs., juvenile ~1 15 _years old, with her mother present wit: intervie~~ed at
  the l beye National Police Station by im~estigator Alexander Capelle. J~rvenilc #1 stated thlt Barron Calcp took her to Albert
 Isajanyan and introcluc~ her to him end that ho•~+• she meet him. .Iuvenile #1 stated that she only know him by his first name Alh~rt
  and didn`t kno~~~ his last name. .luvenile ~ I stated that All}er~t purchase beers on several occasion and she drinks ~~~ith nirn at ~ht:
  Fbcye I-fotel, Calep's house and other places. Juveni le ~ I stayed that there a picture o[ Juvenile #2 with no clothes ~~~hil~ she Guar on a
  bed and in the bathroom of the hotel on Alb~n's cellphonc. Juvenile tl) stated that .luvenile #2 told her [hat she had sex!, al
  intercourse w;ih ,Alhert tan several occasion.

 ~,.t 19O0 nrs., Ju~~~nile r2 and grandmother present vas interviewed at ,heNational Police Station by Investigator Alexander C;apeilG
 and Juvenile n2 admittzd that she I~ad sexual intercourse wide Albert at the Gbcyc 1lo!el, l3arson Calcp's house and another
 apartment loczted an the lagoon side next to UIY store on l.beye. Ju~~enile #? also stated that there are several pictures of h~a~ :ake~i
  by A Ibert on his "Iphone" cellphone and his unhno~+~n hrand name camera ~~-ith and without clothes. Juvenile ~2 stated that the
  camera is black in color. .lwenile J{ l and a2 both stated that ;albert's c~llphone number is (692)~~5-7701.i//(/(/i/I/!//r////!/i/i/!I/i1/!i'/i//i/
 Iflll;lJi!Ill,•"1/lIlllllllllllllllllllllllllll,~llllllll!llllllll/ll,'llllll,'llll'llEN i3 0F, $TATEM Ei~Tlillllllill;`llllll!Irl?llllllllll;!lillll!lIllli;li!lll'li!l/!;/; /;tllllrlr
                                                                                             ~~




   10. EXHIBIT                                                          r11. INITIALS OF P             ON P,~AKWG STAT[M~NT
                                                                                                                                               PAGE i OF             ?       PAGtS
   ADDfTlONAL PAGcS MUST CON7AiN 7HE HEADING "STATEMENT OF                                              TAKEN AT                 DATED

   TPiE DOTTOM Or EACH ADDITIOlVgL PAGE MUST 3cAR THE lNITlA! v OF THE PERSON MAKING THE STATEMENT,AI1fD PAGE NU~'Vlrs'ER
   1v1UST 9c 1NDICATEO.

  DA FORM 2823, NOV 20Q6                                             PRcVIOUS EDI710NS ARE OBSOLETE                                                                        Fr-p!C vi oiES
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STATEVFNT OF Yoshi J. Kemem                         TAKEN AT USAGKA                      DATED                 20160506
9. STATEMENT (Confinued)




                                                       AFFIDAVIT
         i, Yo>hi .l. hemem                                    ,HAVE READ OR HAVE HAD READ TO ME THIS STATEMENT
   WHICH BEGINS ON PAGE 1, AND ENDS ON PAGE Z         I FULLY UNDERSTAND THE CONTENTS OF THE ENTIRE STATEMENT MADE
   SY ME. THE STATEtWENT IS TRUE. I HNVE INITIALED ALL CORRECTIONS AND HAVE INITIALED THE BOTTOM !JF EACH PAGE
   CQNTAINING THE STATEMENT. I HAVE MADE THIS STATEMENT FREELY WITHOUT HOPE OF BENEFIT OR RE+~lARD, WITHOUT
   THREAT OF PUNISHMENT, AND WITHOUT COERCION. UNLAWFUL INFLUE          , OR UNLAVJFUI INDUCEME 7,

                                                                   —                 w                  -- .. .....__
                                                                             Signature o Per on Making Statement)
    Vt+I7NcSScS:                                              Subscribe         svrorn io before me, a person authorized by law to
                                                            administer oaths, this   Ci ~'" day of~~/                           ,_ c_~
     —                        —          -                  at
                                                                                         E                              --__..._---
     --                           --- —
                                                                           ~.
     ORGANIZATION OR ADDRESS                                                (S~(gnaure of Person Administering        th)

                                                ------
                                                                                                                                 ._
                                                                          (Typed Name o Person Administering Oath)

      ---_-
      ORGANIZATION OR ADDRESS            ------                    / /~C~ S ~'SC SQL ~~ ~1a~__.
                                                             ------""-'—"
                                                                      (Authority To Administer OafhsJ


                                             ~UI/                                             ~   PAGE     Z     OF         ?    PAGES
   DA FORM 2823, NOV 200b                                                                                                        APD lC v, oi[S
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                            Exhibit B
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                                                 SEARCH AND SEIZURE AUTHORIZATION
                                           For use of this form, see AR 27-10; the proponent agency is OTJAG

 I~O: (~Nnme and OrgnnL-a~ion ojrhe person ro whom aurhori=anon rs given)
ROBERT J. STACK DES/PMO USAGKA APO, AP 96555-9998



(~!n affidcrni~)(                        rx~~-s,~fe+rrenrr having heen made before me h~      ROBERT J. STACK
                                                                                                                (,'Fame of:i~nrir)

Df;S/PMO USCG-KA APO. AP 9 555-9998
                                                        IOrgunr_nlion or Ac(dress cijA~ant)         - --------

(which a/fictcrvit is aUuc{~ed hereto and mrrdr a Erar1 ojlhis uu~huri=turon), and as I am satisfied that there is probable cause to
 believe that the matters mentionecl in the affidavit are true and correct, thnl the oi'fense set forth lhen;in has been committed, and
 that the prapert~~ to be seized is located_(}-(~r Nye pince) to be searched, you are hereby ordered to search the ~,
(place) known as


  SANDS (3Q Room 108


far the property described ati the camerl described in the attached affidavit of YUSHI J. KGME~vt




 bringing this order to the attention of the (~e+~+_...+-~_^+ ~.~pe~-son i~~ possession, ijcrnv person be Jourrd ur the peace or nn the
 pren~ises senrd~ecl~.'fhe search will be made in the f~(nighrrime), and if the property is found there, you shall seize it, issue
 a receipt therefor to the person from ~t~hom the prap~rly is then car in whose possession the properly is found, deliver the prnpeil}~ to:



  Evidence Custodian DES!PMO USAG-K~
                                  (.-b'nme and Orguni~ulrnn u/Axu6iuri~eclC'usvndinrij


 end prepare a r~mitien inventory of the property. If there is no person at th4 searched place to whom die receipt mad+ he deli~•encl,
 the receipt will be tell in a conspicuous localiun at the pleice ur un Ate premises where the property is found.




 Da~e~i this        ~         day of                    MAY                       2016




 TYPED NAME AND GRADE OF AUTHORIZING (7FFICIAL                               DUTY POSITION OF AUTHORIZING OFFICIAL
A~tiCHiaEL M. LARSLN
COLOTvEL, US ARMY                                                           CONt~1ANDER

 ORGANIZATION OF AUTHORIZING OFFICIAL                                        SIGNATURE OF AUTHORIZING OFFICIAL
US Army Garrison, Kwajalein
A PO AP 96555-9995

DA FORM 3745, SEP 2002                                  DA FORM 3745-R, MAR 85, IS OBSOLETE                                                   .:~n i r. ~i ozes
           Case 2:16-mj-01342-DUTY Document 3 Filed 11/17/16 Page 44 of 48 Page ID #:141



              AFFIDAVIT SUPPORTING REQUEST FOR AUTHORIZATION TO SEARCH AND SEIZE OR APPREHEND
                                                  For use of this form, see AR 27-10; the proponent agency is OTJAG.

~                                  --_—_          I3F-Y•OIlF, CO:L1NLL•'T/hG "I'tilS h'012M, SE8 /A~5'"/'RIiC'770A'S ON PAGE'2                         ~


    ~ ~,                                 Robert J. STACK                                              DESIPMO, USAG-KA, APO AN 96555
                                              (Name)                                                            (Organization or Address)

     asd
    having been duly 5wprn, on oath depose and slate that:
    On 6 May ?016, at about 2210 hours, based on an apprehension authorization from COL Michael M, LARSEN, ~1r. Albert
    iSAJANYAN u-as apprehended ~t the Dock Security Checkpoint, LS Army Garrison - hwaj~lein, Upon apprehension, assisted by
    ~~lr. Gregory Bush, Mr. Benjamin Finn conducted a search of his person incident thereto, which revealed an iPhcane, black in color,
    that was locked, Mr. ISAJANYAN declined to unlock the iPhone. It was secured as evidence.




    2. 'T'he al'li<mt further suites that:
    Based on the affidavit of h~[r, Yoshi J. KEfvlEM [attaeh~d], I am aware that Mr. ISAJ.ANYAN tivas recently in possession ofthe
    camera described in Mr. KEVIEM's a~davita but which was not found in the search of his person. 1 am also aware that Mr.
    1SA]ANYAN is assigned quarters described as SANDS BQ, Raom 108, in which storage of expensive personal items is authorized
    and likely. 1 am not aware of any other place in which Mr. ISA]ANYAN is authorized to store personal items of value. Given that
    the items described above are not of a type that would likely be discarded, or stored in anon-secure location, it is likely that the
    camera is located at Mr. ISAJANYAN's quarters ~t SANDS BQ, Room 108.




    UA hVKM 3744, 5EP                  2002                      DA FORM 374a-R, MAR 65. IS OBSOLETE.                                       qPG!C vi otES
  Case 2:16-mj-01342-DUTY Document 3 Filed 11/17/16 Page 45 of 48 Page ID #:142




3. In vice of she iorcgoing, die alliani reyuesis U»i an auil~oriz~d~on be issued for a search of                 the quarters assigned to NIr. ISAJANYAN,
                                                                                                                                       (il~u pvra~nn)(nnr!)

 SnN DS BQ, ftaom 108, US Army Garrison - K wajalein, AI'O AP 96555
         -'--                                                           (~hr guurler~ or hillaArl !rm<l)


                                                                          and (seizure)(apprehension) of                the camera described in the attached
 rdre omomaG,fci       ~                                            ~                                                             (i~cm.ry~ersnns searcheufur)

 aFfadavit of'Yoshi J. KEMEM.

TYPED NAME AND ORGANI7AT'ION OF AFFIAN~i                                                                   SIuNATUR~F AFFIANT
Robert J. STACK, DDS/PMO,[.1SAG-KA, APO AP 9(555                                                              ,/~

_...._..—__.--                                                                                               I      G f.: ~             ~                     ~Y




  SWORN TO AND SUBSCRIBED BEFORE ME THIS                      Gth           DAY OF                          May                             1 C~     AT            US AI'111y
                                                                                                                            rl
Garrison - ltwajalein, APO AP 96555-9998                                                                                                                  ,
                                                                                                                                                          y ~
               _                                                                                                        ~        ,,~
TYPED NAME, ORGANIZATION AND OrFICIAL CAPACITY OF AUTHORITY                                                SIGNATURE     AU      bRITY ADMINI        E fQ~G THE OATH
ADMINISTERING THE OATH
Alexander C. 1_A1~1B, Dii•ectar of Gmcrgency Scrvices(Provost Marshal,                                            ~'
US Army Garrison -Kwajalein, nP0 AP 96555-999g
                                                                                                                       -~/              --~'


                                                                        I NSTRUCTIONS FOR
                   I /•'FYD,n 67'l'S'(~'l'POR77A!G 2EOUl.S7'FOR A~'7YIOR/Z.=1;IpN TO SE,9RCH AArD SEl7_F OR APPRF_•1-ll:r~'D

  I , In paragraph I, set fnnh a concise, fac;unl sta~~mcnt of[he offense that has Lien convnitted or the proUable cause to lxlieve that i~ has lx:en committed, Uxe
  additinn~l page ifnecessnn,

  2 In ~r~gr~ph 2. set forth facts establishing probaule cause fnr believing that the ~xrson, premises, or place to be searched and Uie property to he seized or the
  person(sI to be apprehended are connected with the offense mentioned in paragraph I , plus facts establishing probable cause to believe that the prnpem~ to be
  sc;ized nr the persons) to h2 apprehended arc presently located on the person. premises, or place to be searched. Before a person mny conclude that prolwUle
  cause to search exists. he or she must first have a reasonable belief that the person, property or evidence sought is located in the place or nn the person to be
  searched. "I~he fads stated in paragraphs I and 2 must be based on either the personal knowledge of the person signm~ the affidavit. or nn hcarsvy information
  which he%she has plus the underlying circumstances From which heishe has concluded than the hearsay infnrtnation is trustworthy. If the informotian is hosed an
  personal knowledge, the afTidavit should sn indicate. II' the inftmnation is ba¢ed on hearsay information, paragraph 2 must set Corth some of the underlying
  circumstances from ~vLich the person signing the affidavit has concluded that the inlormanl(u-base identih~ need not be disclosed) or hislher intorniat~on ~a~as
  trustworthy. Use additional pages if necessan-.

  3. In paragraph ;, the person, premises, or place to he searched and the property to be wired or the persons) to he apprehended should be descrilx d with
  p~rticularih and in dctaiL Authorization for a search may issue with respect ro n scorch fur fniits or products of nn offense, the instrumcntaliq~ or means of
  com:niuing the ciFf'ense, convabaa~d or nthtr pra~xany the p~ssessfon of ~~~hich is an offense, the person who committed ine offense, and under ccnain
  circwnstanccs for cvidcntian~ matters.




DA FORM 3744, SEP 2002                                                                                                                                                     Page 2 pf 2
                                                                                                                                                                          nao ~c ~~ ai es
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                            Exhibit C
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                                                    SEARCH AND SEIZURE AUTHORIZATION
                                               For use of this form, see AR 27-10; the proponent agency is OTJAG

 T~): (Uanre mrd (J~gzou~o~irn~ n~11Te perraz to whom aruirnri=a~inn is gieerrJ

Ryan C. BROCKSMtTH, DESII';bi0, USAG-KA, APO AP 96555


(An a~d~zvitj ("A (sworn) or (unsworn) oral s~ntementj having been made before me by                Ryan C. BROCKSM[TH
                                                                                                                   (~1'nme nf.9fftmH)

UES/Piv10, USAG-Kra, APU A~'96555
                                                            (Orgcmrratrort nr Address ofAffrarit)

(~viJich affidavil is c:uached /zereto and made a part ofthis autho~•i~aliore), and as 1 am satisfied that there is probable cause to
 believe lhaf the mailers mentioned in the affidavit are. true and correct, that the offense set forth tl~ercin has been commitled, and
 that the ~ropert} m he seized is located (nn the person) (r~r the place] to he seflrched, you are hereby ordered i'o search the(~ar~
( place) knotim ~s

  SAND [3Q, Room IQ8



(ix the property dcscrilxd as       the desktop computer depicted in the photograph attached to the affidavit, end digital media. on

  which digital photogr2phs may be stored




 bringing this order to the attention of flee (person sern•chedj ,                :, ifcrny person be Jound at the place or ran the
 ~~r•erni.ces .ceorchedj. "I'he scorch wip be made in the (c~aytinae) ~gk~a~,and ifthe property is found there, you shall seine it, issue
 n receipt therefor to the person from whom the property is taken or in whose possession the property is found, deliver the property ta:



  Evidence Custodian, DFS/PMT, USAG-KA,f1P0 AP 96555
                                                     (Name and C)r~ganrration ofAulltori~ed Cus~opian)


 and prepare a written inventory of the property. If there is no person at the searched place to whom khe receipt may be delivered,
 the receipt t~~ili he left in a ennspicuouti location at the place or on the premises Grhere tl~e property is found.




 Dated this          ~           duy of                     uaY                        2016




TYPED NAME AND GRADE OF AUTHORIZING OFFICIAL                                      DUTY POSITION OF AUTHORIZING OFFICIAL

  MICHAEL M. LARSEN, Colonel, US Army                                              Commander

 ORGANIZATION OF AUTHORIZING OFFICIAL                                             SIGNATURE OF AUTHORIZING OFFI AL

US Army Garrison-Kwajalein,.APO AP 9655 -9998                                       ~~~~r


DA FORM 3745,SEP 20Q2                                       DA FORM 3745-R, MAR 85, IS OBSOLETE                                             APO LCv1.02ES
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3. In view of the Ibregoing, the afti~nt requests shat an authonzntion be issued f'or a search of                                       the quarters assigned ro ~~lr. ISAJ ANYAN,
                                                                                                                                                            (ihe peernn)(rrnd/

SANDS f3Q, Room 108, US Army Garrison - Ktivajalein, APO AP 96555
                                                                                        (ihe yvurrcra ur Gd1¢~s) (mi~1J


                                                                                           and (seizure)(ap           e~~;;efl} of          the desktop compuier, two laptop computers,
(t/re~sernrvnmMky
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 and any di~~ital media on which digital photographs may be stored.
                                                                                                                                        A
TYPED NAME AND ORGANIZATION OF AFFIANT                                                                                     SIGNAT.            F AFFI
                                                                                                                                 t
Ryan C. f3ROCKS.M1Tl-{, DGS/PMO, USAGK.A, APO AP 96555                                                                           '+ ~                                       ~.
                                                                                                                                  .f1




  SWORN TO AND SUBSCRIBES BEFORE ME THIS ^?th                                             _ DAY OF                              ~'1~Y                        ZO I E          AT         U5 ~1 rrny
Garrison - Kwajalein, nP0 AP 96555-9998

TYPED NAME. ORGANIZATION AND OFFICIAL CAPACITY OF AUTHORITY                                                                 SIGNATURE OF            HO         ADMINISTERING                 ATH
ADMINISTERING THE OATH
Alexander C. LA;vIB, Director of Emergency Services/Provost Marshal,
US Army Garrison -Kwajalein, APO AP 96555-9998


                                                           INSTRUCTIONS FOR
                  A h7'1D~1 b~ll'SUPI'OR7~lNG Itf Q('157'f'OR A(II'HOIl/l<i770;'~' 7'O SEARCIt A,VD 5'E!/_L•' OR Af P12L?tIF.;1'D

 1 . In pnrat;raph I, set forth a concise, G~cuiul stacemont of[hc ofl'cnse that has been commiticd or the probab~e cause to Ixlieve that it has hecn cnmmihed. Usc
 ndditiannl page if necessary.

 2. In paragraph 2. set forth facts establishing probable cause for belic~~ing that the person, ~rcmises, or Aare to be searched and the property to be seized ar the
 persons) to he apprehended are connected with the offense mentioned in paragraph I, plus facts estahlishing probahle cause to helieve that the property to be
 seized or the Gx rson(s) io be apprehended arc presently located nn the person, premises, or place to be searched. Before a person may conclude that probable
 cause to search exists, he or she must first have a r4asoneble belief[ha[ the person, property nr evidence sought is located in the place or on the person to be:
 searched. The tact~s staled in paragraphs I and 2 must he based or, either the personal knowledge of the person signing die a17'idavil or on hearsa~~ information
 which he!she has plus the untierlying circumstances from which he/she has concluded that the hearsay information is trustwortlry. ]f the information is Uased on
 personal krawled~e, the affida~-it should so indicate lithe information is based on hearsay information, paragraph 2 must set forth some of[he underlying
 circiunstances from which the person signing the afTidavi~ has concluded that the informant(whose identity neccl noti be disclosed) or his'her inConnition Nos
 tnist~~~orthy. lJsc additiona~ pages if necessary.

  3. In ~xaragraph 3, the person, premises, or place io be searched and the ~roperty to he seized or the persnn(s) to be apprehended should Ue descrihecl wnh
  particularig and in detail. .Authorization Ibr a search may issue with respect to a search for fruits nr products of an offense, die insvumemality or means at"
  COOlI1l Il11I1~ llli OI~(CI1SC, COIIVTI1~f1fI OT OfI1C! ~1~0~1L`ft)- lI1C ~1055CSSIDG 0~ WI71C I1 IS fill Of~I~B 1158, [I12   person ~~~ho com;nitted the ntlense, anti under certain
  circums~anccs for evidentiary matters.




DA FORM 3744, 5EP 2001                                                                                                                                                                             Page 2 of 2
                                                                                                                                                                                               avo ~c y~,o~es
